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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


  HELSJNN HEALTI-ICARE S.A.,                              Civil Action No. 16-1683 ($RC)(CLW)

                             Plaintiff                    (Fifed Electronically)
                  V.


  ACTAVIS LLC,

                             Defendant.


                                     STIPULATION OF DISMISSAL

          WHEREAS, Plaintift’Helsinn Healthcare S.A. (“Hclsinn”) and Defendant Actavis LLC

  (‘Actavis”) are parties to the above—captioned patent infringement action;

          WHEREAS, Actavis hereby represents to llelsinn that, on or around February 22, 2019,

  Aetavis requested the withdrawal of its New Drug Application (“NDA”) No, 208426 to the

  United States Food and Drug Administration; and

          WHEREAS, Actavis’s withdrawal of NDA No. 208426 moots the parties’ claims and

  delCnses in this action:

         NOW THEREFORE, Helsinn and Actavis stipulate and agree, through theIr undersigned

  counsel, that all claims and affirmative c[elènses asserted by the parties against each other in the

  present action are hereby dismissed without prejudice and without costs, disbursements, or

  attorneys’ tCes to any patty.
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   SO STIPULATED:

   Dated: Ma 14.2019



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                                       SO ORDERED thiV’’y of May, 2019



                                      lion. Stanley R. Chesler, U.S.D.J.
